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May 9, 2025

VIA ECF

Hon. Jeannette A. Vargas
United States District Judge
Southern District Of New York
500 Pearl Street, Room 703
New York, NY 10007

Re:    Graham v. UMG Recordings, Inc., 1:25-cv-00399-JAV
       Letter Submission re Jointly Filed Proposed Protective Order

Dear Judge Vargas,

        Pursuant to Rule 5(N) of the Court’s Individual Rules, the Parties submit this letter in support of
the jointly filed proposed protective order to govern discovery in the above-captioned case, attached as
Exhibit 1. Pursuant to the Court’s Individual Rules, the proposed protective order conforms as closely
as possible to the Court’s Model Protective Order. The Parties have proposed certain, limited changes
to the provision regarding the use of the attorneys’ eyes only designation. Attached to this letter as
Exhibit 2 is a blackline showing the changes to the Court’s Model Protective Order. The reason for this
alteration is that the Parties agree this case is likely to involve the production of certain categories of
highly confidential or proprietary business information, specifically, previously undisclosed contracts
and information regarding business relationships with non-parties to this litigation, the disclosure of
which would be highly likely to cause significant harm to Defendant UMG Recordings, Inc. or Plaintiff
Aubrey Drake Graham. The Parties submit that discovery will be more efficient if the Parties have the
ability to designate these limited categories of documents as attorneys’ eyes only without needing to
provide notice and justification on a document by document basis. With respect to all other categories
of documents that the Parties wish to designate as attorneys’ eyes only, the Parties will follow the
standard procedures set forth in this Court’s template.

                                                                  Respectfully submitted,

                                                                  s/ M. Annie Houghton-Larsen




                B RUSSELS   C HICAGO   D ALLAS   F RANKFURT       H OUSTON    L ONDON    L OS A NGELES   M ILAN
                   M UNICH    N EW Y ORK   P ALO A LTO   P ARIS    R OME     S AN F RANCISCO   W ASHINGTON
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cc:   All counsel of record (via ECF)
